                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

UNITED STATES OF AMERICA                  )
                                          )
             v.                           )   1:20CR53-1
                                          )
MICHAEL DANIEL THALLER                    )

                       PRELIMINARY ORDER OF FORFEITURE

      WHEREAS, on February 24, 2020, the defendant, MICHAEL DANIEL

THALLER, was charged in an Information in case number 1:20CR53-1, with a

violation of Title 21, United States Code, Section 843(b), use of a communication

facility in the commission of a felony.

      AND WHEREAS, the United States Attorney included in the Information a

forfeiture allegation, pursuant to Title 18, United States Code, Sections 853;

      AND WHEREAS, on February 25, 2020, the defendant pled guilty to Counts

One and consented to the forfeiture of the items described in paragraph 2 therein,

and the Court accepted the plea;

      AND WHEREAS, the Court finds that the defendant’s interest in and to the

property described in paragraph 2.a. through d. of the forfeiture allegation in the

Information and in the Plea Agreement, is subject to forfeiture, and that the requisite

nexus exists between the properties to be forfeited and the offenses to which the

defendant has pled guilty.

      Accordingly, it is hereby ORDERED, ADJUDGED AND DECREED:




        Case 1:20-cr-00053-NCT Document 16 Filed 06/08/20 Page 1 of 6
      1.      As a result of the guilty plea to Count One of the Information, for which

the Government sought forfeiture pursuant to Title 21, United States Code, Section

853 and based on the Plea Agreement, and other matters of record in this case,

defendant shall forfeit to the United States the following items of property:

           a. 386 Fox Street, SW, Concord, North Carolina, 28025

All right, title, and interest in and to that certain tract or parcel of land known as

386 Fox Street, SW, Concord, North Carolina, 28025, in the City of Concord, No.

12 Township, Cabarrus County, North Carolina, with all appurtenances and

improvements thereon, owned by MICHAEL DANIEL THALLER pursuant to a deed

recorded at Book 11808, Page 339 of the Cabarrus County Registry, and more

particularly described as follows:

           LYING and being in Ward No. 4 of the City of Concord, on the West
           side of Fox Street, and being Lot No. 19 as shown on a plat of the
           First Division of the property of Cline Investment Co. of Concord,
           recorded in Map Book 16, page 38 in the Office of the Register of
           Deeds for Cabarrus County and being more particularly described as
           follows:

           BEGINNING at a stake, front corner of Lots Nos. 18 and 19 in the
           West edge of Fox Street, and runs thence with the line of Lot No.
           18, NB. 80-04 W. 115.57 feet to a stake, rear corner of Lots Nos.
           18 and 19 in the line of Lot No. 2; thence with the line of Nos. 2
           and 1, S. 08-00 W. 50 feet to a stake, rear corner of Lots Nos. 19
           and 20 in the line of Lot No. 1; thence with the line of Lot No. 20,
           S. 80-04 E. 115.57 feet to a stake, front corner of Lots Nos. 19 and
           20 in the West edge of Fox Street; thence with the West edge of
           Fox Street, No. 08-00 E. 50 feet to the point of BEGINNING.




        Case 1:20-cr-00053-NCT Document 16 Filed 06/08/20 Page 2 of 6
          b. 531 Allison Street, Concord, North Carolina, 28025

All right, title, and interest in and to that certain tract or parcel of land known as

531 Allison Street, Concord, North Carolina, 28025, in the City of Concord, No. 12

Township,    Cabarrus   County,      North   Carolina,   with   all   appurtenances   and

improvements thereon, owned by MICHAEL DANIEL THALLER pursuant to a deed

recorded at Book 11564, Page 160 of the Cabarrus County Registry, and more

particularly described as follows:

          LYING and being in Ward No. 5 of the City of Concord, Cabarrus
          County, North Carolina on the West side of Allison Street, adjoining
          the property of Franklin J. Bratton, Wadsworth Addition, and Allie
          K. Currin and is more particularly described as follows:

          BEGINNING at an iron stake on the western edge of Allison Street,
          corner of Frank J. Bratton (said stake being N. 17-30 W. 119 feet
          from the northwestern corner of the intersection of Allison Street
          and Cannon Avenue), and runs thence with Bratton’s line S. 71-56
          W. 121.91 feet to an iron stake in the line of Wadsworth Addition;
          thence with Wadsworth’s Addition’s line N. 15-29 W. 63.1 feet to
          an iron stake, Allie K. Currin corner; thence with his line N. 71-57
          E. 119.7 feet to an iron stake on the western edge of Allison Street;
          thence with the western edge of Allison Street S. 17-30 E. 63 feet
          to the point and place of BEGINNING, according to a survey by
          Walter L. Furr, Jr., dated December 2, 1988.

          c. 264 Lincoln Street, SW, Concord, North Carolina, 28025

All right, title, and interest in and to that certain tract or parcel of land known as

264 Lincoln Street, SW, Concord, North Carolina, 28025, in the City of Concord,

No. 12 Township, Cabarrus County, North Carolina, with all appurtenances and

improvements thereon, owned of record by Sabine Thaller, as nominee for MICHAEL




        Case 1:20-cr-00053-NCT Document 16 Filed 06/08/20 Page 3 of 6
DANIEL THALLER, pursuant to a deed recorded at Book 12348, Page 148 of the

Cabarrus County Registry, and more particularly described as follows:

         LYING and being in Ward No. 4 of the City of Concord, and being
         Lot No. 69 of COLESBURG as surveyed and platted by Q.E. Smith,
         a copy of which is on file in the Office of the Register of Deeds for
         Cabarrus County, North Carolina in Map Book No. 1, page 18 and
         described as follows:

         BEGINNING at a stake on the west side of Lincoln Street, a corner
         of Lot No. 70, and running thence with the line of Lot No. 76, N. 82
         ¾ W. 259 feet to an iron stake on the Mahan line, a corner of Lot
         No. 70; thence with the Mahan line, N. 1 ½ E. 50.2 feet to a stake,
         a corner of Lot No. 68; thence with the line of Lot No. 68, S. 83 ¾
         W. 263 ½ feet to a stake, a corner of Lot No. 68 on the West side
         of Lincoln Street; thence with Lincoln Street, S. 3 ½ W. 50 feet to
         the BEGINNING

         LESS AND EXCEPTING from the above parcel, the property
         conveyed to Grant G. Gamble and wife Mary Gamble to James V.
         Alexander and wife, Virginia Brown Alexander by deed dated
         September 14, 1954 and recorded in Book 257, page 188, Cabarrus
         County Registry.

         d. 183 Mahan Street, SW, Concord, North Carolina, 28025

All right, title, and interest in and to that certain tract or parcel of land known as

183 Mahan Street, SW, Concord, North Carolina, 28025, in the City of Concord,

No. 12 Township, Cabarrus County, North Carolina, with all appurtenances and

improvements thereon, owned of record by Sabine Thaller, nominee for MICHAEL

DANIEL THALLER, pursuant to a deed recorded at Book 12348, Page 152 of the

Cabarrus County Registry, and more particularly described as follows:




        Case 1:20-cr-00053-NCT Document 16 Filed 06/08/20 Page 4 of 6
           LYING and being in Ward No. 4 of the City of Concord, NC, on the
           East side of Mahan Street, adjoining the property of Archibald and
           Coleman, and described as follows:

           BEGINNING at an iron stake in the east edge of Mahan Street (said
           iron stake being 60 feet from the Southwest corner of the Wilson
           Bost Lot on the East side of Mahan Street) and running thence with
           Mahan Street S. 1 W. 60 feet to an iron stake, Archibald’s corner;
           thence with Archibald’s line N. 85-45 E. 100 feet to an iron stake
           in Coleman’s line; thence with Coleman’s line N. 1 E. 60 feet to an
           iron stake; thence S. 85-45 W. 100 feet to the BEGINNING and is
           the property conveyed by Trustees of Christian Disciple Church of
           Concord, N.C. to Moses Parks by deed dated May 15, 1952 and
           recorded in Record of Deeds No. 242, Page 101.

           Being the same property conveyed by deed dated October 27, 1956
           from Moses Parks to Chinnetter M. Means as recorded in Book 274,
           Page 229 of the Cabarrus County Register of Deeds Office.

           The purpose of this deed is to transfer the interest of Bertha Price in
           said property as tenant in common with Chinnetter M. Means as
           Grantee to have and hold in fee simple absolute to the exclusion of
           the Grantor, Bertha Price.

      2.      Upon entry of this Order, the United States Attorney General (or a

designee) is authorized to conduct any discovery proper in identifying, locating or

disposing of the property subject to forfeiture, in accordance with Fed. R. Crim. P.

32.2(b)(3).

      3.      Upon entry of this Order, the United States Attorney General (or a

designee) is authorized to commence any applicable proceeding to comply with

statutes governing third party rights, including giving notice of this Order.




        Case 1:20-cr-00053-NCT Document 16 Filed 06/08/20 Page 5 of 6
      4.     The United States shall publish notice of the order and its intent to

dispose of the property in such a manner as the United States Attorney General (or

a designee) may direct. The United States may also, to the extent practicable,

provide written notice to any person known to have an alleged interest in the subject

property.

      5.     Pursuant to Fed. R. Crim. P. 32.2(b)(4), this Preliminary Order of

Forfeiture shall become final as to the defendant at the time of sentencing and shall

be made part of the sentence and included in the judgment.

      6.     The Court shall retain jurisdiction to enforce this Order, and to amend

it as necessary, pursuant to Fed. R. Crim. P. 32.2(e).

      7.     The Clerk of the Court shall forward two (2) certified copies of this

order to Assistant U.S. Attorney Lynne P. Klauer, U.S. Attorney’s Office, Middle

District of North Carolina.

      This the 5th day of June, 2020.


                                             /s/ N. Carlton Tilley, Jr.
                                        Senior United States District Judge




        Case 1:20-cr-00053-NCT Document 16 Filed 06/08/20 Page 6 of 6
